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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

 GLORIA MITCHELL, individually and on
 behalf of all others similarly situated,

                       Plaintiff,                      Case No. 1:16-cv-00076-BLW

 v.

 WINCO FOODS, LLC, a Delaware limited
 liability company,

                       Defendant.

                                        NOTICE OF APPEAL

       Pursuant to Federal Rule of Appellate Procedure 3 and 4, notice is hereby given that

Plaintiff Gloria Mitchell appeals to the United States Court of Appeals for the Ninth Circuit from

the District Court’s Memorandum Decision & Order dismissing Plaintiff’s complaint for lack of

standing entered in this action on March 7, 2017 (Dkt. 28), and the subsequent District Court’s

Memorandum Decision and Order Denying Plaintiff’s Motion to Reconsider entered in this

action on November 13, 2017 (Dkt. 34). Copies of both Orders are attached hereto as Exhibit A

and Exhibit B, respectively.

                  *                 *              *              *               *

                                        Respectfully Submitted,

Dated: December 11, 2017                GLORIA MITCHELL, individually,
                                        and on behalf of all others similarly situated,

                                        By:   /s/ Patrick H. Peluso

                                        Eric B. Swartz
                                        JONES & SWARTZ PLLC
                                        623 W. Hays Street
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                     Counsel for Plaintiff and the Putative Class

                     *pro hac vice




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                             REPRESENTATION STATEMENT

       Plaintiff-Appellant, Gloria Mitchell, individually and on behalf of all others similarly

situated, hereby submits the following Representation Statement:


 PARTIES                                          COUNSEL OF RECORD
 Plaintiff-Appellant Gloria Mitchell,             Eric B. Swartz
 individually and on behalf of all others         Jones & Swartz, PLLC
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                                                  Counsel for Plaintiff and the Putative Class

                                                  *pro hac vice
 Defendant-Appellee Winco Foods, LLC, a           Rick D. Roskelley
 Delaware limited liability company               Littler Mendelson
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                                 CERTIFICATE OF SERVICE

       I am a resident of the State of Colorado, over the age of eighteen years old, and am not a

party to this lawsuit. My business address is 3900 E. Mexico Avenue, Suite 300, Denver,

Colorado 80210. I HEREBY CERTIFY that on the 11th day of December 2017, I filed the

foregoing NOTICE OF APPEAL electronically through the CM/ECF system, which caused the

following parties or counsel to be served by electronic means, as more fully reflected on the

Notice of Electronic Filing:

                    Rick D. Roskelley, Attorney for Defendant Winco Foods, LLC.

                    Mr. Roskelley’s email address is rroskelley@littler.com.

       I declare that the foregoing is true and correct.

                                                      /s/ Patrick H. Peluso




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